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1    STATE OF ILLINOIS   )
                         )   ss:
2    COUNTY OF C O O K   )
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4
5       IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
             COUNTY DEPARTMENT, CRIMINAL DIVISION
6
7
8
9    PEOPLE OF THE STATE OF ILLINOIS,   )
                                        )
10                 Respondent,          )
                                        )   No. 85 C 7651
11           vs.                        )
                                        )   Honorable Judge
12   NATHSON FIELDS,                    )   PAUL P. BIEBEL
                                        )
13                 Petitioner.          )
14
15
16
17           The discovery deposition of EARL HAWKINS,
18   taken before Carmella T. Fagan, C.S.R., R.P.R.,
19   Notary Public, pursuant to the Illinois Code of Civil
20   Procedure and the Rules of the Supreme Court thereof,
21   and pursuant to notice, at 219 South Dearborn Street,
22   in the City of Chicago, Cook County, Illinois,
23   commencing at 10:33 a.m. on the 19th day of August,
24   2013.
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1    Assistant U.S. Attorney Deady and Assistant State's

2    Attorney Wharrie about an interview he had with you

3    on January 4th, 1987.     I would ask if you could just

4    read through it so we can talk about it.

5                          (WHEREUPON, the Witness complied.)

6            MR. GARCIA:     This was previously marked

7    Exhibit 131?

8            MS. GORMAN:     It might be.

9            MR. GARCIA:     Okay.

10   BY MS. GORMAN:

11           Q        Did you have a chance to review it?

12           A        Yes, ma'am.

13           Q        Do you know if it was your first or

14   second -- strike that.

15                    How many times had you met with

16   Mr. Brannigan as of January 4th, 1987, if you recall?

17           A        I don't know how many meetings.

18           Q        Was this the first one?

19           A        Sounds like the first one.

20           Q        In Mr. Brannigan's notes you described

21   in great detail the Willie Bibbs murder.      Do you see

22   that?

23           A        Yes.

24           Q        Why did you discuss the Willie Bibbs

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1    murder?   That was one that you had been acquitted on.

2          A         Yes, ma'am.

3          Q         Why did you discuss that murder?

4          A         I had been acquitted of it.

5          Q         Did Mr. Brannigan ask you to discuss

6    that one?

7          A         I remember I said, "I don't know how

8    comfortable I am in telling you, man.   You know, I

9    know Anthony Summer pulled a sham on you.     How I'm

10   going to pull a sham on you from where I'm at?"

11   That's how the conversation went.   We wasn't no best

12   of friends then.

13         Q         Did he suggest to you that if you give

14   him the information about the Willie Bibbs murder,

15   that would show cooperation that --

16         A         "You got to show something that would

17   show good face (sic).   You behind the eight ball, you

18   behind the eight ball, son.   You better come up with

19   something quick."

20         Q         And that's when you started to talk

21   about the Willie Bibbs murder?

22         A         That's when I said, okay.   Do I

23   discuss this?   I didn't know too much about double

24   jeopardy; it was something that I didn't know.     I

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1    felt comfortable because I'm saying, to my

2    understanding, that would be double jeopardy to bring

3    that up again, but if they did, the state could find

4    that in the law to bring that up again.    It's beyond

5    me.

6             Q      Did Mr. Brannigan suggest to you that

7    if you talk about the Bibbs murder, that was

8    something they couldn't come back at you for?

9             A      As I just told you, "Earl, you're

10   behind the eightball."     He could sit there all day.

11   It ain't on him, it's on me.

12            Q      Correct.

13            A      That was the atmosphere and the road

14   we was going down then.

15            Q      Did you tell him about the bribe to

16   Maloney?

17            A      I don't know if it was that time, but

18   every time I brought it up, we almost come to blows

19   on it.   "Ain't no judge going to take it -- you're

20   just mad that he hanged you."    Yeah, I'm mad that he

21   hanged me, but I ain't lying, though.

22            Q      Do you recall when that was?

23            A      No.

24            Q      Was it early on in your meetings?

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